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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


KAYLA DIONNE LEWIS, et al.,

               Plaintiffs,

v.                                                  Civil Action No. 15-352 (RBW)

GOVERNMENT OF THE
DISTRICT OF COLUMBIA,

           Defendant.



             DEFENDANT THE DISTRICT OF COLUMBIA’S RESPONSE
          TO PLAINTIFFS’ NOTICE OF SUBMISSION OF NEW AUTHORITY

                                        INTRODUCTION

       The Court should disregard plaintiffs’ Notice of Submission of New Authority (Notice)

for two reasons. First, the “new” authority—Odonnell v. Harris County, 2016 U.S. Dist. LEXIS

174628 (S.D. Tex. Dec. 16, 2016)—does not, as plaintiffs suggest, rebut the arguments presented

in the District of Columbia’s (the District) Motion to Dismiss the Second Amended Complaint

(Motion), including that the Court should dismiss Claims I and II because they are predicated on

actions taken by a D.C. Superior Court judge in a judicial capacity. Those actions cannot form

the basis of municipal liability under 42 U.S.C. § 1983 (Section 1983) because D.C. Superior

Court judges are not policymakers for the District. Second, the Notice is an improper attempt to

file a surreply without obtaining leave of court.

                                          ARGUMENT

I.     Plaintiffs’ “New” Authority is Distinguishable from this Case.

       Odonnell is distinguishable from this case. In Odonnell, the plaintiffs alleged that the

Sheriff and County Judges in Harris County, Texas promulgated policies that violated their
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constitutional rights “by detaining people arrested for misdemeanor offenses who are unable to

pay a financial bail bond much longer than those financially able to pay.” 2016 U.S. Dist. LEXIS

174628 at *2. The Odonnell Court noted that “[c]ase law emphasizes the ‘unique structure of

county government in Texas’ that grants county judges ‘numerous executive, legislative and

administrative chores in the day-to-day governance of the county.’” Id. at *70 (quoting Familias

Unidas v. Briscoe, 619 F.2d 391, 404 (5th Cir. 1980)). The court determined that in: “(1)

promulgating the written Rules of Court; (2) overseeing and enforcing the alleged unwritten

policies; and (3) acquiescing in the Hearing Officers’ unwritten customs or practices by refusing

to correct them in the written policies, the County Judges act in a legislative or administrative

capacity to set policy for Harris County.” Id. at *77. As a result, the court concluded that

plaintiffs had “provide[d] a plausible basis to find that the County Judges act for Harris County

in their allegedly unconstitutional policies, customs, or practices regulating bail for misdemeanor

arrestees in Harris County.” Id. at *78. The court reasoned, in part, that “[t]he Harris County

Rules of Court, and the alleged unwritten amendments to those Rules, are more similar to rules

passed by legislative or administrative enactment than they are to court-or judge-specific rules or

order involving the exercise of discretion to choose among permissible alternatives, including the

orderly process of trial.” Id. at *77 (citations omitted).

        Contrary to the facts in Odonnell, plaintiffs, here, do not allege in Claims I and II of the

Second Amended Complaint that a D.C. Superior Court judge acted in an administrative (or non-

judicial) capacity. Nor can they make such allegation. Claims I and II of the Second Amended

Complaint are predicated on a D.C. Superior Court judge acting in a judicial capacity by

ordering plaintiffs’ detention pursuant to District law. Indeed, plaintiffs allege that they were

held pursuant to a District statute. See Second Am. Compl. at ¶¶ 74, 80 (“The assistant attorney



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general … submitted a Gerstein and asked the judicial officer for an ‘(a)(1)(A) hold,’ that is, to

order Ms. Lewis held for a detention hearing pursuant to D.C. Code § 23-1322(a)(1)(A) which

authorizes a discretionary hold”; “When the defense suggested that the Gerstein perfection hold

was discretionary, the judicial officer stated, ‘I’ve read the statute, been here five years, been

trained and -- … [t]he bottom line is they get the 24 hours.’”), ¶¶ 90, 92 (“The AAG submitted a

Gerstein and asked the judicial officer for an ‘(a)(1)(A) hold,’ that is, to order Mr. Hill held for a

detention hearing pursuant to D.C. Code § 23-1322(a)(1)(A) which is a discretionary hold”; “In

response to the AAG’s request the judicial officer said, ‘Back tomorrow for a Gerstein

perfection.’”). As the District argued in its memorandum and reply filed in support of the

Motion, such actions cannot form the basis for municipal liability. See Mem. at 11-14 [27];

Reply at 6-8 [32]. In fact, Odonnell acknowledges that a “‘municipal judge acting in his or her

judicial capacity to enforce state law does not act as a municipal official or lawmaker’ for

purposes of § 1983 liability.” 2016 U.S. Dist. LEXIS 174628 at *30 (quoting Johnson v. Moore,

958 F.2d 92, 94 (5th Cir. 1992)) (other citation omitted). Thus, Odonnell does not support

plaintiffs’ position.

II.     Plaintiffs’ Notice is an Improper Attempt to Address the District’s Reply Without
        Obtaining Leave of Court.

        In addition, the Court should disregard the Notice because it is a surreply filed in the

guise of “new” authority. For example, the District argued in its Motion that the Court should

dismiss Claims I and II under Federal Rule of Civil Procedure 12(b)(7) because plaintiffs failed

to join the United States as a necessary party. Mem. at 15-17 [27]. In its reply, the District stated

that contrary to the representation in plaintiffs’ opposition, “the District did articulate a basis for

why the United States is a necessary party, which plaintiffs have failed to rebut.” Reply at 9-10

[32]. On pages 1-3 of the Notice, plaintiffs attempt to address the District’s argument for the first

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time by arguing that they do not bring any claims involving the conduct of the United States.

Notice at 2 [33] (“[b]oth Ms. Lewis and Mr. Hill were prosecuted by District prosecutors on

District charges.”). Plaintiffs’ argument fails to undermine the District’s showing that the relief

plaintiffs seek—a declaratory judgment finding the “Gerstein policy and practices …

unconstitutional under the Fourth Amendment,” SAC ¶ 129 (incorrectly numbered as ¶ 102)—

would impact the United States because the United States Attorney’s Office for the District of

Columbia handles certain misdemeanors and adult felony cases in the D.C. Superior Court.

Complete relief cannot be afforded in the absence of the United States should the Court deny the

District’s Motion. See Mem. at 15-17 [27]; Reply at 9-10 [32].

       The Notice devotes the majority of page 3 and pages 4-10 to responding (yet again) to the

District’s arguments that the Court should dismiss Claims I and II because they are premised on

official acts by D.C. Superior Court judges who are not policymakers for the District. See Notice

at 3 (“The District contends in its Motion to dismiss the Second Amended Complaint and its

Reply that ‘a single judicial decision by a municipal judge or court cannot expose a municipality

to liability under Section 1983 because those decisions do not represent the policy of the

municipality.’ [32], p. 6.”), 6-10 [33]. Plaintiffs merely reiterate the arguments in their

opposition, which fail for the reasons stated above.

       On pages 10-11 of the Notice, plaintiffs attempt to raise for the first time substantive

arguments in support of their strip search claim (Claim III) after the District noted in its reply,

Reply at 9 [32], that plaintiffs did not address the District’s arguments regarding that claim. In

their opposition, plaintiffs only stated that they “maintain their theory that the strip-searches

violate the 5th Amendment.” Pls.’ Opp’n at 30 [30]. The Court should disregard the Notice

because it is in substance a surreply filed without leave of court. See United States ex rel. Pogue



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v. Diabetes Treatment Ctrs. of Am., Inc., 238 F. Supp. 2d 270, 276 (D.D.C. 2002) (“A surreply

may be filed only by leave of Court, and only to address new matters raised in a reply, to which a

party would otherwise be unable to respond.”)

                                        CONCLUSION

       For the foregoing reasons, the District requests that the Court disregard plaintiffs’ Notice

of Submission of New Authority and grant its Motion to Dismiss the Second Amended

Complaint.

Dated: March 10, 2017.               Respectfully submitted,

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